ice cF KENNETH A NostoRTrcv
733 WEST 4“‘ AVE.. sum=_ 400

 

Kenneth A. NorsWorthy, ABA No. 7705055
LaW Ofl`lce of Kenneth A. NorsWorthy, LLC
7 33 West 4th Ave., Suite 400

Anchorage, AK 99501

Phone: (907) 279-1000

FaX: (907) 27 6-4 125
ken@norsworthvlawfirm.com

Attorney for Plaintiff N.E.B.

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ALASKA

N. E. B., )
) No.
Plaintiff, )
)
vs. )
)
UNITED STATES OF AMERICA, )
) COMPLAINT
Defendant. )
)

 

Comes now Plaintiff N. E. B., through counsel, and for her cause of action
against the Defendant, United States of America, states as follows:
JURISDICTION
l. At all times relevant hereto, Plaintiff N.E.B. Was a resident of the State of
Alaska and a civilian dependent spouse of an active duty member of the United States
Army, stationed at Joint Base Elmendorf Richardson.
2. This cause of action arises under the Federal Tort Claims Act, 28 U.S.C.

sec. 1346, 2401, and 2671 et. seq.

N.E.B. v. Unz'ted Stales of Amerz'ca
COMPLAINT
Page l of 5

Case 3:13-cV-00217-TI\/|B Document 1 Filed 11/20/13 Page 1 of 5

 

LAW OFFK:E oF KENNETH A NoRsWoRTHY

733 west 4“‘ AvE.. suite 400
ANcHoRAGE, A»< 99501
<907> 2791000
FAX 276-4125

 

3. ()n April 4, 2012, the claim set forth herein Was presented in Writing to the
Department of the Air Force Legal Services Agency ("AFLSA/JACC").
4. On June ll, 2013, the claim Was denied by AFLSA/JACC.

5. On July 18, 2013, Plaintiff timely requested reconsideration of her claim.

6. On September 3, 2013, the claim after reconsideration Was again denied
by AFLSA/JACC.
7. Based on paragraphs 1 through 6 above, this court has jurisdiction over

the claim asserted herein.
FACTS AND CAUSES ()F ACTION IN NEGLIGENCE

8. Gn or about October 7 , 2010 Plaintift` presented to her physician Ray M.
Quenneville, PA, at Joint Base Elmendorf-Richardson Hospital for an examination of
lumps discovered in her right breast. Plaintiff Was referred to Dr. Gregory H. Hough,
Capt. USAF, in general surgery to discuss a plan of action. After having a mammogram
and a biopsy on or about November 10, 2010 it Was recommended that one of the lumps
be removed since they Were unsure of the mass. Plaintiff contacted Dr. Hough and
surgery Was scheduled for December 3, 2010.

9. On December 3, 2010 Plaintiff, presented to the Ambulatory Procedure
Unit ("APU") at Elmendorf Hospital for her scheduled surgery at approximately 7:00
a.m.

10. The certified nurse anesthetist assigned to Plaintift’s surgery Was Captain

B. J. Holmes, U.S.A.F.

N.E.B. v. United Stal‘es OfAmerl`ca
COMPLAINT
Page 2 of 5

Case 3:13-cV-00217-TI\/|B Document 1 Filed 11/20/13 Page 2 of 5

 

LAW OFFxcE oF KENNErH A Nostc>RTHY
733 WEST 4"' AVE._ Su\TE 400
- ANCH<JRAGE_ AK 99501
(907) 2791000
FAX 2764125

 

11. After the surgery Was completed Captain Holmes sexually molested
Plaintiff While she Was coming out from under the effects of the anesthesia. Plaintiff
Was conscious enough to realize What Was happening to her but unable to physically
resist.

12. Plaintiff immediately reported What happened to other medical personnel
present and in attendance of her at the hospital.

13. Investigation of Plaintiff’ s complaint revealed that Captain Holmes had
sexually molested other female patients under his care in the recent past prior to molest-
ing Plaintiff and those prior molestations had been reported to Captain Holmes' superi-
ors.

14. No action Was taken by Defendant as a result of the prior complaints
against Captain Holmes to remove him from duty and/or prevent his continued access to
hospital patients in the same or similar situation as Plaintiff on the subject occasion.

15. Plaintiff Was not advised before she consented to being treated by Capt.
Holmes of the reports of prior complaints of sexual molestation by him of patients

16. Plaintiff suffered severe emotional and psychological injury as a result of
this event Which resulted in damages including past and ongoing medical care and

expenses, loss of income and severe mental and emotional suffering and disability.

N.E.B. v. Uniz‘ed Stales OfAme)*ica
COMPLAINT
Page 3 of 5

Case 3:13-cV-00217-TI\/|B Document 1 Filed 11/20/13 Page 3 of 5

 

LAW OFFlcE oF KENNEm A NoRsWoRTHv
733 WEST 4“' AVE.. suits 400
ANcHoRAGE, A)< 99501
(907) 279-1000
FA)< 27M125

 

17. Defendant's agents/employees, including but not limited to Colonels
Freidrichs, Affleck and Wolfe, Who on the subject date Were the commanders in charge
of the subject JBER Hospital operations Were all acting Within the scope of their em~
ployment/agency and were charged With the duty to protect patients, including Plaintiff,
under the care of the hospital from undue risk of harm. lncluded in that duty Was the
duty and obligation to implement and enforce policies and procedures and to train and
supervise other personnel in proper procedures to be able to timely detect, prevent and
report any conduct by others present in the hospital setting, Whether employees or non-
employees, from engaging in conduct likely to cause harm to patients

18. Defendant had the duty upon initially being notified of the risk of harm to
patients posed by Captain Holmes to take appropriate actions to prevent him from
having the ability to continue posing said risk of harm.

19. Defendant had a duty to obtain the informed consent of Plaintiff before
the surgery.

20. Defendant breached its above described duties by failing to implement
and to adequately enforce appropriate and effective policies and procedures and/or to
adequately train and supervise other personnel to detect, prevent and report the above
described misconduct taken toward patients and by failing to take appropriate and
necessary actions to prevent continued risk of harm once the misconduct Was initially

reported by patients other prior to the injury to Plaintiff, and by failing to advise Plain-

N.E.B. v. United States of Amerz`ca
COMPLAINT
Page 4 of 5

Case 3:13-cV-00217-TI\/|B Document 1 Filed 11/20/13 Page 4 of 5

 

LAW OFFK:E or-‘ KENNErH A NostoRTHY
733 WEST 4"‘ AVE.` sums 400
ANCHORAGE, AK 99501
(907) 279-1000
FAX 2764125

 

tiff before she consented to submit to Capt. Holmes care of the prior complaints of
misconduct made against him.

21. Defendant’s breach of duties as described herein were the result of negli-
gence and said negligent acts and omissions were the proximate cause of Plaintiff s
complained of injuries.

PRAYER
WHEREFORE, Plaintiff prays for relief as set forth below:

1. Entry of judgment against Defendant awarding Plaintiff compensation for
the damages resulting from her injuries in the amount of $ 5,000,000.00;

2. All costs of litigation and reasonable fees and expenses of plaintiffs
attorneys and other expenses to the maximum amount allowed by law; and

3. All such relief as is just in the premises

DATED this l day of November, 2013.

Law Office of Kenneth A. Norsworthy, LLC
Attorney for Plaintiff

Kenneth A. Norsworthy /

 

Alaska Bar No. 7705055

N.E.B. v, United States of Amerl’ca
COMPLAINT
Page 5 of 5

Case 3:13-cV-00217-TI\/|B Document 1 Filed 11/20/13 Page 5 of 5

 

